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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

UNITED STATES OF AMERICA

v.                                                              No. 4:18-CR-230-O

MOHAMED TOURE (02)


                   GOVERNMENT’S RESPONSE TO DEFENDANT’S
                       MOTION TO COMPEL DISCOVERY

       The United States of America, by and through undersigned counsel, respectfully

responds to the Defendant’s Motion to Compel Discovery. Dkt. 88. Prior to the

defendant’s filing of the Motion to Compel Discovery, the government informed defense

counsel that it would provide the requested “notes, texts, emails, and recordings” for

review at the U.S. Attorney’s Office. Prior to this Court’s Order, Dkt. 94, instructing the

government to respond, defense counsel arranged to view the materials in question at the

U.S. Attorney’s Office on January 3, 2019. The government has conferred with defense

counsel and defense counsel confirmed that government has complied with the relief it

sought by filing the Motion to Compel Discovery.




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       In accordance with the Court’s Order, the government will provide an ex parte,

sealed copy of the pertinent notes for the court to review.


                                      Respectfully submitted,


                                      /s/ William E. Nolan
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                                      /s/ Rebekah J. Bailey
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                                      /s/ Alex C. Lewis
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 3, 2019, I electronically filed the foregoing document
with the clerk for the U.S. District Court, Northern District of Texas, using the electronic case
filing system of the court. The electronic case filing system sent a Notice of Electronic Filing to
the following parties: Brady Wyatt, and David Finn, who have consented in writing to accept this
Notice as service of this document by electronic means.

                                              /s/ William E. Nolan
                                              WILLIAM E. NOLAN
                                              Trial Attorney




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